                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF WISCONSIN
                       (MILWAUKEE DIVISION)

NANCY A. STENCIL, DANIEL C.       )
                                  )
RUSSLER, LISA C. MUELLER, CHERYL L.
MARANTO, GERARD D. LISI, JAMES B. )       Case No. 2:22-cv-00305
KURZ, MARGARET L. DEMUTH, PAUL    )
DEMAIN, JAMES R. BOTSFORD AND     )       Hon. Lynn Adelman
RICHARD BECHEN,                   )
                                  )
     Plaintiffs,                  )
                                  )
v.                                )
                                  )
RONALD H. JOHNSON, THOMAS P. )
TIFFANY, AND SCOTT L. FITZGERALD, )
                                  )
    Defendants.                   )
                                  )
                                                                   /


DEFENDANTS THOMAS P. TIFFANY AND SCOTT L. FITZGERALD’S RESPONSE
IN PARTIAL OPPOSITION TO PLAINTIFFS’ CIVIL L.R. 7(h) MOTION FOR ORAL
                ARGUMENT ON MOTIONS TO DISMISS




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       Pursuant to Civ. L. R. 7(h), Defendants Thomas P. Tiffany and Scott L. Fitzgerald hereby

respond in partial opposition to Plaintiffs’ Motion for Oral Argument on the Motions to Dismiss

(ECF No. 49):

       Plaintiffs filed this suit with the stated goal of obtaining a declaration from this Court

finding that Defendants engaged in an “insurrection” under the Disqualification Clause, which

Plaintiffs would then use in an attempt to force the State of Wisconsin (through its election

commission) to bar Defendants from the ballot. (Opp.’n at 14, ECF No. 23.) Two motions to

dismiss under Fed. R. Civ. P. 12(b)(1) and (b)(6)—one of which was filed jointly by Tiffany and

Fitzgerald—are pending before the Court. Among the issues raised in Tiffany and Fitzgerald’s

motion to dismiss are the dispositive propositions that this Court lacks the authority to adjudicate

whether Defendants violated the Disqualification Clause because Congress has not granted it the

jurisdiction to do so, the State of Wisconsin lacks the power to adjudicate such a challenge or

enforce such a judgment, and the Plaintiffs lack a cause of action to request such an adjudication

in the first place. (ECF Nos. 19 & 41).

       While Tiffany and Fitzgerald do not oppose Plaintiffs’ motion to the extent it requests oral

argument on the motions to dismiss, Tiffany and Fitzgerald do oppose Plaintiffs’ motion to the

extent it requests that any such hearing occur on an expedited basis. While Plaintiffs appear to base

their request to expedite this proceeding on upcoming elections and election-related deadlines,

Plaintiffs are playing a self-dealt hand. The few allegations in Plaintiffs’ eighty-page Complaint

that even remotely pertain to Defendants occurred more than a year before Plaintiffs filed this suit.

And although Plaintiffs may claim they waited to commence this suit until it was clear the

Defendants were running for reelection (setting aside that running for reelection is the default for

Members of Congress, and it was no secret that Tiffany and Fitzgerald would run again for their



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current office), Plaintiffs then compounded their self-made delay by waiting nearly 3 months after

filing their Complaint and more than 6 weeks after Tiffany and Fitzgerald filed their motion to

dismiss to seek expedited oral argument and decision on the motions to dismiss. Indeed, while

Plaintiffs filed their Complaint on March 10, 2022, they did not file the instant motion until May

24, 2022. As a result, Tiffany and Fitzgerald respectfully request that the Court take Plaintiffs’

self-made delay into consideration when deciding the aspect of Plaintiffs’ motion that seeks

expedited oral argument and decision on the motions to dismiss.

       WHEREFORE Defendants Thomas P. Tiffany and Scott L. Fitzgerald respectfully request

that this Court deny that aspect of Plaintiffs’ Motion for Oral Argument on the Motions to Dismiss

seeking to expedite oral argument.

Dated: May 31, 2022                          Respectfully submitted,

                                              /s/ Robert L. Avers

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                                              Attorneys for Defendants Scott L. Fitzgerald and
                                              Thomas P. Tiffany

                                CERTIFICATE OF SERVICE

       I hereby certify that on May 31, 2022, I caused a true and correct copy of the foregoing

document to be served upon all counsel of record registered with the Court’s ECF system, by

electronic service via the Court’s ECF transmission facilities.


                                               /s/ Robert L. Avers




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